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BU RG ERVILLE, LLC



                              UN ITED STATES DISTRICT COU RT

                                FOR TH E DISTRI CT OF OREGON

                                         ( Po rtland Di visio n)


SYLV IA M. PHARR,                                    )               Case No. 3: I4-cv- I404- PK
                                                     )
                       Pl aintirr,                   )
                                                     ) DECLARATION OF GEOFF HELZER
               v.                                    ) I N SUPPORT OF DEFENDANT'S
                                                     ) MOTION FOR SUMMARY JUDGM ENT
BU RGERV ILLE, LLC, dba                              )
BU RGERVILLE,                                        )
                                                     )
                       Defendant.                    )
----------------------- )

I, Geoff Helzer, do depose and state as fo ll ows:

       A.      Burgerv illc, LLC

       I.    I am the General Manager of the Burgervill e Hawthorne location . I was the
General Manager during Sy lvia Pharr's emp loyment.

        2.      Thi s Declaration is based on my personal knowledge or the facts and circlIlllstances
of this maller, Burgerville 's po li cies and procedures, and Ms. Pharr's pe rson nel fil e.

        3.     Specifi c to Ms. Pharr' s employment, I consul ted and worked directl y wi th Ms.
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Pharr, Assistant Managers Leah Huntington and Pangia Xiong, and Lacey Halpern at Xen ium.
Burgervill e utili zes Xellium, a human resources consulting firm, and Lacey Halpern, PHR, was the
designated HR Business Partner for Burgerville on thi s matter.

          4.      Crew Members perform the bulk of tile work associated with serving Burgerville's
customers. The duties of the Crew Members include taking Clistomer orders while standing at the
cash regi ster or drive-through wi ndow; gathering food items to fill clistomer orders; operat ing the
grill s; cl eaning and mopping the ent ire restaurant and co llecting litter in the parking lot; restocking
supplies and maintaining equipment as needed throughout the day; and repleni shing soft drinks
and frenc h fries, among other tasks. Crew Members perform these dut ies as ass igned, based on
their skills and performance, but they are all part of the same job description and pay range.
Exhibit I is a true and correct copy of Burgerville's Position Description for Crew Member.

         5.     Burgerville has a zero tolerance policy toward drugs and/or alcoho l in the
Workplace and where Burgerville has probabl e cause that an employee is in violat ion of this
policy, the employee wi ll be required to submit to testing to determine the presence, or use or any
involvement with alcohol or drugs. An employee's failure to provide samples for testing will be
considered insubordination and ground s for immediate suspension and later termination. Exhibit 2
is a true and correct copy of Burgerville's Alcohol and Dmg Free Workplace Policy and Probable
Calise Drug Test signed by Ms. Pharr.

        B.      Plaintiff Sylvia Pharr's Employment

        6.     Ms. Pharr was hired as a Crew Member on March 4. 2012, and initially indi cated
that she was available to work "all days and all hours." Exhibit 3 is a true and correct copy of Ms.
Pharr's work availability on her date of hire.

         7.       Burgerville managers took Ms. Pharr' s availability preferences and skills into
consideration when assigning her work shifts, which needed to be balanced with the preferences
and ski ll s of the nearl y 40 other Crew Members at this restaurant.

       8.     Ms. Pharr had some diffi culty with some of the duties of her position, but continued
to work toward improvement.

        9.   In September, 20 12, Ms. Pharr had a "till shortage," and received a correct ive
action. Exhibit 4 is a true and correct copy of the September 3, 20 12 Employee Corrective
Action.

         10.    In late 2012 Mr. Pharr began to ask to be assigned for more hours and to work at the
dri ve-through . In respo nse to Ms. Pharr's requests, she began to be trained on the dri ve-through
window. In total , she was assigned three separate training or shadow shifts on the drive through.
but she made several mi stakes, including double-made milk shakes, a back-up on food being
served, and not keeping up with making fries. Exhibit 5 is a true and correct copy of Ms.
Huntington ' s note to Ms. Pharr's personnel file documenting Mr. Pharr's performance on the dri ve
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through.

       11 .  On January 11,2013, Ms. Pharr asked Ms. Huntington if she could have more work
hours. Exhibit 6 is a true and correct copy of Ms. Huntington's note to Ms. Pharr's personnel file
documenting Mr. Pharr's request for more hours.

       12.     On January 18,20 13, Ms. Pharr asked Ms. Huntington if she could have more
hours and be scheduled on dri ve-through. Ex hi bit 7 is a true and correct copy of Ms.
Huntington's note to Ms. Pharr's personne l fi le documenting Mr. Pharr's request.

        13.      On February 18, 2013, Ms. Huntington and I tal ked with Ms. Pharr about her
requests for more hours and to work at the drive-through. Generall y, once an employee shows
proficiency on counter i.e. limited errors, strong multi-tasking ability we schedul e a person for a
shadow shift on dri ve-th rough to initially see ifi t is a fi t, whi ch we did for Ms. Pharr in December
20 12. If the drive-through experience goes well we move forwa rd with a morc forma l trai ning
process on drive-through. In Ms. Pharr' s situat ion, we were not seei ng proficiency with her
co unter dut ies. She was not a strong multi -taske r and made significant errors as compared to
other employees. We explained to Ms. Pharr that her outgo ing demeanor was beller sui ted for the
slower pace of counter with more time to interact with guest s and a much more forgiving
atmosphere for potential errors. Exhibit 8 is a true and correct copy or Ms. Huntington 's note to
Ms. Pharr's personnel file documenting the conve rsation.

         14.   In March 2013, Ms. Pharr continued to press for more hours and to work the
drive-through and we met with her aga in to explain to her that her sk ill set was best ass igned to the
co unter. Exhibit 9 is a true and correct copy of Ms. I-!untington's note to Ms. Pharr's pe rsonnel
fi le documenting the conversation.

        15.     In May 20 13, Ms. Pharr had her fi rst formal performance rev iew in which we noted
areas of improvement, including improvement in areas of speed, accuracy, communi cation , and
time management. As part of the perfonnance review, Ms. Pharr completed a self-appraisa l and
she noted sim ilar areas for her improvement. Exhibi t lOi s a true and correct copy of Ms. Pharr's
May 2013 performance review and se lf-appraisa l.

       16.      On June 4, 20 13, Ms. Pharr reduced her availabil ity for work and no longer wa nted
to work Friday or Saturday after 5:00 p.m. Exhibit 11 is a true and correct copy of Ms. Ph arr's
work avai lability as of June 4, 20 13.

        17.     Ms. Pharr continued to have performa nce deficiencies wi th accuracy, effic ienc y,
communicat ion and "listening and recall awareness" such as be ing ab le to fill a guest's order with
the correct side di shes without having to repeatedl y check the order). J and the Assistant
Managers spoke wi th Mr. Pharr about these performance deficiencies frequent ly.

       18.    On June 19, Ms. Halpern and I met with Ms. Pharr to discuss her job performance.
Ms. Pharr asked for written feedback and communication to hclp her better perform her job duties.
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I prepared an Individual Development Plan (IOP) which is a tool used by Burgerville to
communicate areas for improvement.

        19.     On June 26, 20 13, Ms. Halpern and I met with Ms. Pharr to discllss the lOP and
further discuss the areas in which we wanted to see improvemenl. Exhibit 12 is a true and correct
copy of the lOP given to Ms. Pharr.

          20.     On July 29, 2013, at the end of Ms. Pharr' s shift (approximate ly 11:00 p.m.). Ms.
Pharr confronted Ms. Huntington in a confrontat ional and aggressive tone regarding her
displeasure with her sched ul e and Ms. Huntington's failure to honor her preferences for Friday and
Saturday ni ghts off. At the end of thi s conversation, Ms. Pharr accused Ms. Huntington of being
a raci st for not schedu ling her at the drive-through and for req uiring her to work the lot/lobby shift s
and closing shifts. Exhibit 13 is a true and correct copy of the written report prepared by Ms.
Huntington in Ms. Pharr's perso nnel file.

       21.      Upon learni ng about the July 29, 2013 incident, I wanted Ms. Pharr's all egations of
discrimination invest igated. I asked Ms. Halpern to promptly investigate thi s allegation o f
discrimination.

        22.     On or about August 13, 2013, Ms. Halpern and I met with Ms. Pharr to discuss the
Jul y 29 incident and to learn from her what happened.

       23.      On August 25, 20 13, Ms. Pharr again reduced her availabi lity for work and no
longer wanted to work any day after 5:00 p.m. Exhibit 14 is a true and correct copy of Ms. Pharr'S
work availabi lity as of August 5, 2013.

        24.      On approximate ly August 30,2013, Ms. Halpern finished her invest igation of Ms.
Pharr' s allegations of discrimination and concluded that there was no evidence of discrimination.

       25.   I finalized the verbal warni ng for Ms. Pharr's inappropriate behav ior on Jul y 29.
On September 4, 2013 , Ms. Halpern and I met with Ms. Pharr and discussed with her the verbal
warning. Exh ibit 15 is a true and correct copy of the verbal warn in g.

        26.    The original lOP was scheduled to proceed for 30 days at which point we were
going to assess Ms. Pharr's improvement. During that 30 day period and before the July 29, 20 13
incident with Ms. Huntington, Ms. Pharr took personal leave from work and there was insufficient
time to allow Ms. Pharr to improve under the lOP. I discussed this with Ms. Pharr and she agreed
that we should restart the lOP to give her time to improve and for Burgerville time to help Ms.
Pharr in her improvement. Exhibit 16 is a tme and correct copy of the restarted lOP dated
September 4, 2013.

      27.     Following the restart of the lOP, Ms. Pharr asked for add itional written
communication about her day~to-day performance so we estab li shed a seri es of Records of
Conversation and Coaching. The goal was that on each shift, a manger or team lead would
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provide Ms. Pharr about timely feedback on her performance each day. Ex hibi t 17 is a true and
correct copy of the Records of Conversation and Coachi ng.

       28.    On November 9, 20 13, Ms. Pharr's supervisors were Leah Huntington and Pangia
Xiong. I received a call from Ms. Huntington informing me that she and Ms. Xiong felt they had
probable cause to conduct an on-the-job alcohol sobri ety test based on Burgerville's policies and I
asked them to compl ete an observed behavior chec klist.

      29.      Ms. Huntington and Ms. Xiong completed the observed behavior checkli sts and
documented their observation s, pursuant to the Probable Calise Drug Test policy in which a
manager verifi es observations if possible. Exhibit 18 is a true and correct copy of Ms. Hunti ngton
and Ms. Xiong' s observed behavior checklists and summary of their observations.

         30.  After completion of the observed behavior check li st and consulting with me,
American Medical Response (AMR) was called to conduct an alcoho l breathalyzer test based on
reasonable suspicion that she was under the innucnce of alcohol in violation of Burgervi lle's
polic ies.

       3 1.    Ms. Pharr was given a urine drug test by the AMR tech. When the AMR tech
attempted to give Ms. Pharr the breathalyzer test, Ms. Pharr refused the test. Ms. Pharr then left
the Hawthorn e store premises, Safe transportation to her place of residence was also offered,
which she refused. Exhibit 19 is a true and correct copy of the AMR incident report.

       32.     After the alcohol testing incident, I consulted with Ms. Huntington and Ms.
Halpern about the incident and we evaluated Ms. Pharr's continued employment. I decided that
pursuant to Burgervi lle's Alcohol and Drug Free Workplace Policy that Mr. Pharr' s employment
would be term inated as of November 9, 20 13. Exhibit 20 is a true and correct copy of Ms. Pharr's
termination notice.


I dechlre under pemllty of perjury under the Imvs of the United Stl:ltes of America that the
fore go ing statements are true and correct.


                        h
        Dated thi s i       day of August, 20 15.


                                                    BY:   lsi Geoln-lelz~~Y~-~,
                                                          Geoff Helzer ~




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